












Affirmed and
Memorandum Opinion filed May 20, 2010.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-09-00768-CR

____________

&nbsp;

JOHN ANDY JONES, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;

&nbsp;



On Appeal from the 183rd District Court

Harris County, Texas

Trial Court Cause No. 1109177

&nbsp;

&nbsp;

&nbsp;



MEMORANDUM
OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; A jury convicted appellant of murder and sentenced him to confinement
for life in the Institutional Division of the Texas Department of Criminal
Justice and assessed a fine of $10,000.&nbsp; Appellant filed a notice of appeal.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant’s appointed counsel filed a brief in which he
concludes the appeal is wholly frivolous and without merit. The brief meets the
requirement of Anders v. California, 386 U.S. 738, 87 S.Ct. 1396 (1967),
presenting a professional evaluation of the record demonstrating why there are
no arguable grounds to be advanced.&nbsp; See High v. State, 573 S.W.2d 807
(Tex. Crim. App. 1978).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; A copy of counsel’s brief was delivered to appellant.&nbsp;
Appellant was advised of the right to examine the appellate record and file a
pro se response.&nbsp; See Stafford v. State, 813 S.W.2d 503, 510 (Tex. Crim.
App. 1991).&nbsp; At appellant’s request, the record was provided to him.&nbsp; On May 5,
2010, appellant filed a pro se response to counsel’s brief.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We have carefully reviewed the record, counsel’s brief, and
appellant’s response, and agree the appeal is wholly frivolous and without
merit. &nbsp;Further, we find no reversible error in the record.&nbsp; A discussion of
the brief would add nothing to the jurisprudence of the state.&nbsp; We do not
address the merits of each claim raised in an Anders brief or a pro se
response when we have determined there are no arguable grounds for review.&nbsp; See
Bledsoe v. State, 178 S.W.3d 824, 827–28 (Tex. Crim. App. 2005).&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Accordingly, the judgment of the trial court is affirmed.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; PER
CURIAM

&nbsp;

&nbsp;

Panel consists of Justices
Brown, Sullivan, and Christopher.

Do Not Publish — Tex. R. App. P. 47.2(b).





